804 F.2d 1251Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Robert MONROE, I, Plaintiff-Appellant,v.NORTH CAROLINA DEPARTMENT OF CORRECTIONS;  Captain Chester;Sergeant Buttram;  Officer Langston, Defendants-Appellees,
    No. 86-7661.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 17, 1986.Decided Nov. 10, 1986.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Rockingham.  Richard C. Erwin, District Judge.  (C/A No. 86-85-R)
      Joseph Robert Monroe, appellant pro se.
      Jacob Leonard Safron, Office of the Attorney General of North Carolina, for appellees.
      M.D.N.C.
      AFFIRMED.
      Before RUSSELL, ERVIN and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Monroe v. North Carolina Department of Corrections, C/A No. 86-85-R (M.D.N.C., August 26, 1986).
    
    
      2
      AFFIRMED.
    
    